Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 1 of 11 PageID 53




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                              CASE NO. 8:19-CR-398-T-33SPF


UNITED STATES OF AMERICA,

       Plaintiff,

vs.

MARIA BASSI LAURO,

      Defendant.
__________________________________/


           MOTION TO SUPPRESS SEARCH WARRANT AND EVIDENCE AND
                          MEMORANDUM OF LAW

      COMES NOW the Defendant, MARIA BASSI LAURO, (hereinafter “LAURO”), by and

through undersigned counsel, Patrick R. McKamey, Esq., pursuant to Rule 12 of the Federal

Rules of Criminal Procedure, and moves this Honorable Court for an order suppressing the items

seized pursuant to the Search and Seizure Warrant that was issued on April 30, 2019, on the

basis that the search and seizure warrant lacked probable cause. This motion is made on the

following grounds:

                                    RELEVANT FACTS

      1.       On April 30, 2019, the Magistrate Judge, Christopher P. Tuite, executed a search

warrant authorizing the police to take a saliva sample from the mouth of MARIA BASSI

LAURO. The warrant specified that “[t]he saliva sample will be collected using a Sterile Cotton

Tipped Applicator or a Federal Convicted Offender Collection Kit, the tip of which will be

placed in LAURO’S mouth and run along the gum line and under the tongue, so as to collect as
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 2 of 11 PageID 54




much saliva as necessary.”

           2.   Said investigation was as a result of several administrators from several different

elementary schools, all situated in the Middle District of Florida, receiving an envelope

containing a letter and an unknown “white powder”.

           3.   Said search warrant was issued as a result of Special Agent, Timothy D. Taylor

from the Federal Bureau of Investigation, filing an application for a search warrant on April 30,

2019. The basis for the search warrant was to obtain evidence of a crime pursuant to

Fed.R.Crim.P. §41(c).

           4.   Special Agent Taylor stated in his “affidavit in support of search warrant” that

“[t]he facts contained in this affidavit are either personally known, have been told to me by the

other law enforcement officers and witnesses, or a based upon my review of the evidence and

records obtained during this investigation.”

           5.   In the section marked “probable cause”, Special Agent Taylor states that his

information in support of his application for the search warrant seeking a saliva sample from

LAURO was based on statements made by the Citrus Ridge Administrator “that she believed that

LAURO was responsible for sending the above-described letter and white powder.”

           6.   Based on the administrator’s statement, Special Agent Taylor then spoke with the

other witnesses who identified various other individuals whom they thought could have sent the

letters.

           7.   The search and seizure warrant was to be executed on or before May 12, 2019.

           8.   On September 5, 2019,      a federal grand jury issued a six count Indictment

charging LAURO with knowingly depositing in an authorized depository for mail matter, to be

sent and delivered by the Postal Service, and caused to be delivered by the Postal Service



                                                 2
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 3 of 11 PageID 55




according to the directions there, a communication addressed to an employee at Citrus Ridge

Academy containing a threat to injure the addressee and the person of another, with the intent to

communicate a true threat and with the knowledge that the communication would be viewed as a

true threat in violation of 18 U.S.C. §876(c) (Count 1); did engage in conduct with the intent to

convey false and misleading information under circumstances where such information may

reasonably have been believed, and that indicated that an activity had taken, was taking, and

would take place that would constitute a violation of 18 U.S.C. §2332a(a)(2)(A), that is LAURO

mailed an envelope addressed to an employee of Citrus Ridge Academy containing a powdery

substance with the intent to convey false and misleading information that may reasonably have

been believed to indicate that LAURO had used, was using, and threatened to use, any weapon

involving a biological agent and toxin in violation of 18 U.S.C. §1038(a)(1) and 18 U.S.C.

§1038(a)(1)(A) (Count 2); with knowingly depositing in an authorized depository for mail

matter, to be sent and delivered by the Postal Service, and caused to be delivered by the Postal

Service according to the directions there, a communication addressed to an employee at

Groveland Elementary School containing a threat to injure the addressee and the person of

another, with the intent to communicate a true threat and with the knowledge that the

communication would be viewed as a true threat in violation of 18 U.S.C. §876(c) (Count 3); did

engage in conduct with the intent to convey false and misleading information under

circumstances where such information may reasonably have been believed, and that indicated

that an activity had taken, was taking, and would take place that would constitute a violation of

18 U.S.C. §2332a(a)(2)(A), that is LAURO mailed an envelope addressed to an employee of

Groveland Elementary School containing a powdery substance with the intent to convey false

and misleading information that may reasonably have been believed to indicate that LAURO had



                                               3
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 4 of 11 PageID 56




used, was using, and threatened to use, any weapon involving a biological agent and toxin in

violation of 18 U.S.C. §1038(a)(1) and 18 U.S.C. §1038(a)(1)(A) (Count 4); with knowingly

depositing in an authorized depository for mail matter, to be sent and delivered by the Postal

Service, and caused to be delivered by the Postal Service according to the directions there, a

communication addressed to an employee at Four Corners Charter School containing a threat to

injure the addressee and the person of another, with the intent to communicate a true threat and

with the knowledge that the communication would be viewed as a true threat in violation of 18

U.S.C. §876(c) (Count 5); did engage in conduct with the intent to convey false and misleading

information under circumstances where such information may reasonably have been believed,

and that indicated that an activity had taken, was taking, and would take place that would

constitute a violation of   18 U.S.C. §2332a(a)(2)(A), that is LAURO mailed an envelope

addressed to an employee of Four Corners Charter School containing a powdery substance with

the intent to convey false and misleading information that may reasonably have been believed to

indicate that LAURO had used, was using, and threatened to use, any weapon involving a

biological agent and toxin in violation of 18 U.S.C. §1038(a)(1) and 18 U.S.C. §1038(a)(1)(A)

(Count 6) (DE:1).

                                 MEMORANDUM OF LAW

       The Fourth Amendment provides that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.” “[A] warrant may not be issued unless probable cause is

properly established and the scope of the authorized search is set out with particularity”.

Kentucky v. King, 131 S.Ct. 1849, 1856 (2011). Probable cause should be determined upon a

common sense assessment of the totality of the circumstances. See Illinois v. Gates, 462 U.S.



                                               4
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 5 of 11 PageID 57




213, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983).

       A.      There Was No Probable Cause For The Issuance Of The Warrant

       Using a buccal swab inside a person's cheek to obtain a DNA sample is a search under the

Fourth Amendment. Vernonia School Dist. 47J v. Acton, 515 U.S. 646, 652, 115 S.Ct. 2386. It

can be agreed that using a buccal swab on the inner tissues of a person's cheek in order to obtain

DNA samples constitutes a search. Virtually any “intrusio[n] into the human body,” will work as

an invasion of ‘cherished personal security’ that is subject to constitutional scrutiny,” Schmerber

v. California, 384 U.S. 757, 770, 86 S.Ct. 1826 (1966), Cupp v. Murphy, 412 U.S. 291, 295, 93

S.Ct. 2000, (1973) (quoting Terry v. Ohio, 392 U.S. 1, 24–25, 88 S.Ct. 1868, (1968)).

       Although the taking of blood samples or other bodily intrusions may constitute a search

within the scope of the Fourth Amendment, the Courts have established a special needs

exception. In Shelton v. Gudmanson, 934 F.Supp. 1048 (W.D.Wis.1996), the Court summarized

the “special needs” line of cases that permit warrantless searches without individualized

suspicion in a DNA collection case: “[l]ike administrative searches, in which the warrant and

probable cause showing are replaced by the requirement of showing a neutral plan for execution,

a compelling governmental need, the absence of less restrictive alternatives and reduced privacy

rights, see Camara v. Municipal Court, 387 U.S. 523, 87 S.Ct. 1727 (1967), special needs

searches adopt a balancing of interests approach. . . . In determining the reasonableness of these

searches, the Supreme Court has considered the governmental interest involved, the nature of the

intrusion, the privacy expectations of the object of the search and, to some extent, the manner in

which the search is carried out.” Shelton v. Gudmanson, 934 F.Supp. at 1050-1051.

       As is clear from the text of the Fourth Amendment, probable cause must exist for a

search warrant to issue. The Supreme Court defines “probable cause” as a “fair probability that



                                                5
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 6 of 11 PageID 58




contraband or evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S.

213, 238, 103 S.Ct. 2317 (1983). The determination of whether probable cause exists must be

made in light of the “totality of the circumstances.” Id. The ultimate measure of the

constitutionality of a governmental search is ‘reasonableness.’” Vernonia School Dist. 47J v.

Acton, 515 U.S. 646, 652, 115 S.Ct. 2386 (1995). In giving content to the inquiry whether an

intrusion is reasonable, the Court has preferred “some quantum of individualized suspicion ...

[as] a prerequisite to a constitutional search or seizure.” United States v. Martinez–Fuerte, 428

U.S. 543, 560–561, 96 S.Ct. 3074 (1976).

       The Court’s inquiry is limited to “the four corners of the affidavit” and it must determine

whether, “based on the totality of the circumstances and common-sense assessment, probable

cause is shown.” Illinois v. Gates, 462 U.S. 213 (1983) (probable cause to issue a search warrant

is based on the totality of the circumstances).

       The Fourth Amendment provides that “[t]he right of the people to be secure in their

persons ... against unreasonable searches and seizures, shall not be violated.” U.S. Const. amend.

IV. “It is by now axiomatic that a court must examine the totality of the circumstances in order to

determine whether a search or seizure is reasonable under the Fourth Amendment.” United States

v. Lewis, 674 F.3d 1298, 1303 (11th Cir.2012) (citing Samson v. California, 547 U.S. 843, 848,

126 S.Ct. 2193 (2006)). According to the Supreme Court, reasonable suspicion requires “some

minimal level of objective justification” that is something more than an “inchoate and

unparticularized suspicion or hunch.” United States v. Sokolow, 490 U.S. 1, 7, 109 S.Ct. 1581

(1989). In the instant case, the warrant was issued based on the “beliefs” of law enforcement, i.e.,

the handwriting looks the same (although stating he had no training in handwriting analysis) and

statements by alleged witnesses who “believed” it was LAURO that possibly sent the letters. As



                                                  6
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 7 of 11 PageID 59




stated in Gates, wholly conclusory statements fail to meet the probable cause requirement; the

reviewing magistrate cannot abdicate his or her duty and become a mere ratifier of the bare

conclusions of others. Gates, 462 U.S. at 238, 103 S.Ct. 2317. And, pursuant to Gates, this Court

is required to ensure that a substantial basis existed to support the magistrate's probable cause

determination. Gates, 462 U.S. at 238–39, 103 S.Ct. 2317.

       The affidavit in the warrant application must satisfy two elements: first, that a particular

person has committed a crime—the commission element, and, second, that evidence relevant to

the probable criminality is likely located at the place to be searched—the nexus element. United

States v. Vigeant, 176 F.3d 565, 569 (1st Cir.1999). In the instant case, the affidavit does not

satisfy these two elements.

       The affidavit and therefore, the warrant is similar to the affidavit in the case of Howard v.

State, 483 So.2d 844 (Fla. 1st DCA 1986). In Howard, the affidavit contained a factual predicate

indicating the presence of marijuana in appellant's greenhouse. But an assertion that marijuana

has been observed growing immediately outside a dwelling was found to be insufficient in itself

to support a warrant for a search of the dwelling. Howard v. State, 483 So.2d 844 (Fla. 1st DCA

1986). The Court went on to state that the only further allegation involving the dwelling was that

one of the informants had seen appellant “removing something for [sic] the greenhouse and

taking it inside the trailer.” The affidavit does not suggest what this “something” was, and there

is no indication that only contraband was contained in the greenhouse. As such, the affidavit was

found to be insufficient to support a warrant for a search of the trailer.

       In the case at hand, this Court must find that the affidavit issued was insufficient to

support the issuance of a warrant authorizing the police to take a saliva sample from the mouth

of MARIA BASSI LAURO. The warrant specified that “[t]he saliva sample will be collected



                                                  7
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 8 of 11 PageID 60




using a Sterile Cotton Tipped Applicator or a Federal Convicted Offender Collection Kit, the tip

of which will be placed in LAURO’S mouth and run along the gum line and under the tongue, so

as to collect as much saliva as necessary.”

       Said investigation was as a result of several administrators from several different

elementary schools, all situated in the Middle District of Florida receiving an envelope with a

letter and an unknown “white powder”. Said search warrant was issued as a result of Special

Agent, Timothy D. Taylor from the Federal Bureau of Investigation filing an application for a

search warrant on April 30, 2019. The basis for the search warrant was to obtain evidence of a

crime pursuant to Fed.R.Crim.P. §41(c).

       Special Agent Taylor stated in his “affidavit in support of search warrant” that “[t]he facts

contained in this affidavit are either personally known, have been told to me by the other law

enforcement officers and witnesses, or a based upon my review of the evidence and records

obtained during this investigation.” In the section marked “probable cause” Special Agent Taylor

states that his information in support of his application for the search warrant seeking a saliva

sample from LAURO was based on statements made by the Citrus Ridge Administrator “that she

believed that LAURO was responsible for sending the above-described letter and white

powder.”

       In deciding whether to grant or deny LAURO’S Motion to Suppress, the District Court

must consider the “totality-of-the-circumstances”.      When you consider the “totality-of-the-

circumstances, it is hard to ascertain how a search warrant could be issued merely because the

Citrus Ridge Administrator stated that “that she believed that LAURO was responsible for

sending the above-described letter and white powder.” How does that statement, without any

further evidence but summations and “guesses” leads one to believe there is a “fair probability



                                                 8
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 9 of 11 PageID 61




that contraband or evidence of a crime will be found. Illinois v. Gates, 462 U.S. 213, 238, 103

S.Ct. 2317 (1983).     A sworn statement of an affiant that “[t]he facts contained in this affidavit

are either personally known, have been told to me by the other law enforcement officers and

witnesses, or are based upon my review of the evidence and records obtained during this

investigation,” is not sufficient to support probable cause. Nathanson v. United States, 290 U.S.

41, 54 S.Ct. 11 (1933).    An affidavit must provide the magistrate with a substantial basis for

determining the existence of probable cause, and an officer's statement that “[t]he facts contained

in this affidavit are either personally known, have been told to me by the other law enforcement

officers and witnesses, or a based upon my review of the evidence and records obtained during

this investigation.” is inadequate. Aguilar v. Texas, 378 U.S. 108, 84 S.Ct. 1509 (1964).       The

mere fact that LAURO may have taught at the schools in question may have given the

government a window; but what the government is doing is taking that “window” and using it to

obtain a search warrant, and then creating a door to walk through – all without considering

LAURO’S constitutional rights.

       The Fourth Amendment asserts the right of the people to be secure from “unreasonable

searches and seizures” and requires that no warrant issue but upon probable cause “and

particularly describing the place to be searched, and the persons or things to be seized.”   Again,

in order for this Court to find there was probable cause for the warrant to be issued, there had to

be sufficient facts and information to determine probable cause. In order to ensure that there is

probable cause, the Courts must continue to conscientiously review the sufficiency of affidavits

on which warrants are issued. Accordingly, in reviewing the application and affidavit for the

search warrant in this case, it is clear that there was no proper probable cause- only a suspicion

or hunch that may or may not have been accurate. Based on this alone, LAURO’S Motion must



                                                 9
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 10 of 11 PageID 62




be granted.

       Again, to determine whether probable cause existed, the judge issuing the warrant has to

“make a practical, commonsense decision whether, given all the circumstances set forth in the

affidavit,’ there [was] a fair probability that evidence of a crime [would] be found in a particular

place.” United States v. Wiegand, 812 F.2d 1239 (9th Cir.1987).          Therefore, “given all the

circumstances”, there was insufficient information to support a finding that LAURO sent the

letters and accordingly, there was no basis for concluding that there was probable cause for the

issuance of a warrant authorizing the collection of LAURO’S saliva to determine if in fact she

was the one who sent the letters in question. See Gates, 462 U.S. at 238–39. Accordingly,

LAURO’S Motion to Suppress must be granted.

       B.      Any Evidence Found As A Result Of The Illegal Search Warrant Being Issued

Is “Fruit Of The Poisonous Tree” And Must Be Suppressed.

       The exclusionary rule, which provides that evidence seized as the result of a search

violative of the Fourth Amendment may not be used by the Government in a subsequent criminal

prosecution, is “ ‘a judicially created remedy designed to safeguard Fourth Amendment rights

generally through its deterrent effect.’ ” United States v. Martin, 297 F.3d 1308, 1312 (11th

Cir.2002) (quoting United States v. Calandra, 414 U.S. 338, 348, 94 S.Ct. 613 (1974)). Because,

the sample of LAURO’S saliva was obtained in violation of her Fourth Amendment rights, said

evidence must be excluded and therefore, LAURO’S Motion to Suppress must be granted.

       Furthermore, due to the fact that the evidence that was attained in violation of her

constitutional rights, any subsequent evidence seized is “fruit of the poisonous tree” and must be

suppressed as well. The government bears the burden of demonstrating that evidence “was not

obtained as a direct result of the illegal search.” United States v. Crosby, 739 F.2d 1542, 1549



                                                10
Case 8:19-cr-00398-VMC-SPF Document 44 Filed 09/22/20 Page 11 of 11 PageID 63




(11th Cir.1984). “The relevant inquiry examines the extent of the causal connection between the

lawless police conduct and the evidence in question; i.e., ‘whether, granting the establishment of

the primary illegality, the evidence to which instant objection is made has been come at by

exploitation of that illegality or instead by means sufficiently distinguishable to be purged of the

primary taint.’ ” United States v. Bailey, 691 F.2d 1009, 1013 (11th Cir.1982) (quoting Wong

Sun v. United States, 371 U.S. 471, 488, 83 S.Ct. 407, 417 (1963)). Therefore, LAURO’S

Motion to Suppress must be granted in order to assure her due process rights are protected.

                                         CONCLUSION

       WHEREFORE, undersigned counsel would respectfully request this Honorable Court to

grant LAURO’S motion to suppress for all of the reasons argued herein. The government has

failed to establish probable cause for the search warrant and the seizure of the saliva sample from

LAURO.

                                                     Respectfully submitted,

                                                     Law Office of Patrick R. McKamey
                                                     Attorney for Defendant
                                                     515 North Flagler Drive
                                                     Suite P300
                                                     West Palm Beach, Florida
                                                     (561) 370-7424
                                                     patrick@mckameydefenselaw.com

                                                     By_/s/ Patrick R. McKamey____________
                                                       PATRICK R. MCKAMEY, ESQUIRE
                                                       FLORIDA BAR NO. 103624

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September _22nd___, 2020, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF.

                                                     By_/s/ Patrick R. McKamey___________
                                                       PATRICK R. MCKAMEY, ESQUIRE


                                                11
